Case 1:19-mj-00407-TCB Document 2 Filed 09/18/19 Page 1 of 15 PagelD# 2

IN THE UNITED STATES DISTRICT COURT FO
EASTERN DISTRICT OF VIRGINIA

 

Alexandria Division
UNITED STATES OF AMERICA )
v. 5 Case No. 1:19-mj-407
ANDREW JON THOMASBERG, 5 UNDER SEAL
Defendant.

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
AND ARREST WARRANT

I, Shawn M. Matthews, a Special Agent with the Federal Bureau of Investigation, being

first duly sworn, hereby depose and state as follows:
INTRODUCTION AND BACKGROUND

1, I am a Special Agent with the Federal Bureau of Investigation (“FBI”), and have
been so employed since January 2005. Prior to my work with the FBI, I worked in law enforcement
as a municipal police officer in West Virginia and Virginia for a period of nine years. J hold a
Bachelor’s Degree in Criminal Behavior and a Master’s Degree in the Administration of Justice.
Additionally, I have received specialized training from the FBI, the West Virginia State Police
Academy, and the Roanoke Virginia Police Academy, relevant to the investigation of narcotics,
weapons, and computer-related crimes to include computer forensics training. I have experience
and specialized training related to the collection of narcotics, weapons, and computer-related
evidence, and have personally participated in search warrants involving the search and seizure of
weapons, narcotics, and computer-related equipment. As a federal agent, I am authorized to
investigate violations of laws of the United States Code, and as a law enforcement officer I am

authorized to execute warrants issued under the authority of the United States.
Case 1:19-mj-00407-TCB Document 2 Filed 09/18/19 Page 2 of 15 PagelD# 3

2. This affidavit is in support of a criminal complaint charging ANDREW JON
THOMASBERG, (i) on or about October 18, 2017, in the Eastern District of Virginia, in
connection with the acquisition or attempted acquisition of any firearm or ammunition from a
licensed importer, licensed manufacturer, licensed dealer, or licensed collector, with knowingly
making any false or fictitious oral or written statement intended or likely to deceive such importer,
manufacturer, dealer, or collector with respect to any fact material to the lawfulness of the sale or
other disposition of such firearm or ammunition, in violation of 18 U.S.C. § 922(a)(6), and (ii)
between on or about November 2018 to March 2019, in the Eastern District of Virginia, with
possessing a firearm while being an unlawful user of or addicted to any controlled substance, in
violation of Title 18, United States Code, Section 922(g)(3).

3. The facts of this affidavit come from my personal observations, training and
experience, legal processes, and from information obtained through other agents, and witnesses.
Since this affidavit is being submitted for the limited purpose of establishing sufficient probable
cause for the requested warrant, I have not included each and every fact known to me conceming
this investigation. I have set forth only the facts that I believe are necessary to establish probable
cause for the issuance of the arrest warrant requested herein.

PROBABLE CAUSE
THOMASBERG’s Straw Purchase

4. On October 18, 2017, while employed at Sterling Arsenal, Sterling, VA, within the
Eastern District of Virginia, THOMASBERG completed the purchase of an Arsenal SAM7R,
7.62x39, AK-47 assault-style rifle, bearing serial number BA532035. According to an interview

- with the owner of Sterling Arsenal, this purchase was made directly from a third-party firearm

distributor that sells firearms to Sterling Arsenal. According to the owner of Sterling Arsenal,
Case 1:19-mj-00407-TCB Document 2 Filed 09/18/19 Page 3 of 15 PagelD# 4

THOMASBERG’s firearm purchase was made while THOMASBERG was employed at Sterling
Arsenal, without the consent of the Sterling Arsenal owner and in violation of Sterling Arsenal
policy.

5. In purchasing these firearms, THOMASBERG completed necessary forms
provided by the United States Department of Justice’s Bureau of Alcohol, Tobacco, Firearms, and
Explosives (“ATF”). In particular, THOMASBERG completed and signed an ATF Form 4473
for this purchase on October 18, 2017. On this form, THOMASBERG provided his telephone
number, email address, and home address. ATF Form 4473 includes Question 11.a. “Are you the
actual transferee/buyer of the firearm(s) listed on this form? Warning: You are not the actual
transferee/buyer if you are acquiring the firearm(s) on behalf of another person. If you are not the
actual transferee/buyer, the license cannot transfer the firearm(s) to you. Exception: If you are
picking up a repaired firearm(s) for another person, you are not required to answer 11.a. and may
proceed to question 11.b.”, THOMASBERG checked “yes” to this question, indicating he was in
fact the purchaser of the aforementioned firearm.

6. According to the owner of Classic Firearms, a firearms distributor based in Indian
Trail, North Carolina, the purchase of the above-mentioned firearm was made on the Classic
Firearms website through the customer profile of THOMASBERG on or about October 8, 2017,
for a total purchase amount of $1,336.19. The purchase form indicated a shipping address for the
Sterling, VA business address of Sterling Arsenal. The payment and billing information was for
an individual known to me, referred to here at Individual B.B., located in Elkridge, Maryland.
Bank records for Individual B.B. corroborate a $1,336.19 charge to Individual B.B. for a purchase

from Classic Firearms, processed on or about October 10, 2017.
Case 1:19-mj-00407-TCB Document 2 Filed 09/18/19 Page 4 of 15 PagelD# 5

7. According to a cooperating witness (hereinafter “CW 1”), Individual B.B. directed
THOMASBERG to make the firearm purchase on Individual B.B.’s behalf. CW 1 was present for
conversations between Individual B.B. and THOMASBERG, during which Individual B.B.
directed the purchase of the aforementioned firearms.

8. On June 6, 2019, agents of the FBI, including the undersigned, executed a search
warrant for the residence of Individual B.B. based on separate charges. The aforementioned
firearm was seized from the residence of Individual B.B. at that time.

9, According to an invoice for the purchase, the firearm was shipped from MSR
Distribution, a supplier in Las Vegas, Nevada to Sterling Arsenal in Sterling, Virginia.
THOMASBERG’s Possession of Firearms

10.‘ In an interview conducted on or about December 27, 2018, a cooperating witness
(hereinafter “CW 2”), an individual close to THOMASBERG, stated that, at the time of the
interview, THOMASBERG owned three to four firearms. CW 2 also stated that THOMASBERG,
for years, including through the time of the interview, regularly carried a handgun on his person.

11. CW 2 resided with THOMASBERG at the time of the interview, within the Eastern
District of Virginia, and provided the FBI with recent pictures, set forth below, of multiple firearms
in THOMASBERG’s bedroom. CW 2 took these photographs prior to the interview with the FBI,

and did not take them at the direction of the FBI.
Case 1:19-mj-00407-TCB Document 2 Filed 09/18/19 Page 5 of 15 PagelD# 6

 

 

12. In interviews conducted with CW 1, in or about June 2019, CW 1 stated that
_ THOMASBERG has and continues to possess and carry firearms on his person. CW 1 stated that
THOMASBERG is in continuous possession of a firearm and has been for at least the last two
year period. :

13. Invoice records from Classic Firearms indicate that on or about April 25, 2016,

THOMASBERG purchased a Finnish M39 Rifle, 7.62x54, bearing serial number 63933, from

Classic Firearms and had it shipped to Silver Eagle Group (“SEG”), a Federal Firearms License
Case 1:19-mj-00407-TCB. Document 2 Filed 09/18/19 Page 6 of 15 PagelD# 7

holder, in Ashburn, Virginia) THOMASBERG completed an ATF Form 4473 through SEG and
took possession of the firearm on or about that same date. |

14. Transaction invoices provided by SEG show that, on or about April 25, 2017,
THOMASBERG purchased an AR-15 lower receiver, bearing serial number 2A2621, from
SARCO INC., a firearms dealer based in Easton, Pennsylvania, and had it transferred through
SEG. Based on my training, knowledge, and experience, a “lower receiver” is a reference to an
AR-15 rifle and is the registered, serialized, and regulated portion of the firearm.

15. | According to business records received from Sterling Arsenal on or about August
10, 2017, THOMASBERG submitted a Charles Daly Pistol, bearing serial number HP00626, for
repairs at Sterling Arsenal.

16. According to records received and reviewed from the Fairfax County Police.
Department, in July 2019, THOMASBERG submitted his application for a concealed carry permit
with the Fairfax County Police Department, Fairfax, VA, which denied his application.

17. On or about July 22, 2019, THOMASBERG purchased a new handgun from
Vienna Arsenal, Vienna, VA, an HK, P30, 9 mm handgun, bearing serial number 213-028956. On
or about July 22, 2019, THOMASBURG completed an ATF Form 4473 for this purchase.

18. In July 2019, the FBI Washington Field Office conducted phone exploitation of
Individual B.B.’s cellular phone, pursuant to a federal search warrant, wherein analysts discovered
Signal encrypted messaging communications between Individual B.B., and a contact identified as
“Drew” with phone number 703-xxx-8028 (hereinafter “Phone Number 8028” or |
“THOMASBERG”), discussing narcotics activity and weapons. Based on Sterling Arsenal,

Classic Firearms, SEG, Fairfax County Police Department, and FBI database records, Phone
Case 1:19-mj-00407-TCB Document 2 Filed 09/18/19 Page 7 of 15 PagelD# 8

Number 8028 is known to the undersigned agent as THOMASBERG?’s cellular phone number.
“Drew” is a nickname THOMASBERG identifies by.

19. During the July 2019 exploitation of Individual B.B.’s phone, analysts observed
text messages over the application Signal between Individual B.B. and THOMASBERG that
appeared to be discussions involving THOMASBERG’s possession of firearms and transactions
related to firearms and ammunition.

a. On or about November 2, 2018, THOMASBERG texted Individual B.B., “Yo
I found you a kickass upper receiver for your ar build. Its even better than mine.
All it needs is a built lower receiver and a new muzzle brake and your g2g.”
Later that same day, THOMASBERG texted Individual B.B., “I can cannibalize
it for you and xfer it to an engage upper lower set like I have.”

b. On or about March 24, 2019, THOMASBERG texted Individual B.B., “Wanna
whip w me to richy? Need a roadtrip partner. Trading the saiga.” Based on
my knowledge, training and experience, “Saiga” is a manufacturer of firearms.
Individual B.B. responded, “Can’t today I’m busy.” THOMASBERG
responded with a photograph, set forth below, of an assault style rifle in the

trunk of a car, indicating he traded the Saiga firearm for the firearm shown.
Case 1:19-mj-00407-TCB Document 2 Filed 09/18/19 Page 8 of 15 PagelD# 9

 

The weapon shown is a magazine-fed semiautomatic rifle. Also shown in the
image is a bag containing multiple box-style magazines. THOMASBERG
wrote, “All that for the saiga.”

c. On or about March 25, 2019, THOMASBERG texted Individual B.B., “I can
get used to this..... 99 cents a mag if I buy in bulk.” Individual B.B. responded
“308?” Based on my knowledge, training and experience, “mag” refers to a
magazine which is used to feed ammunition into a weapon, and “.308” is a
caliber of rifle ammunition.

20. During the July 2019 exploitation of Individual B.B.’s phone, analysts observed
text messages over the application Signal between Individual B.B., THOMASBERG, and another
individual that appeared to be discussions of THOMASBERG’s possession of firearms. |

a. On or about June 1, 2019, THOMASBERG texted the group, “Tfw, you’re
carrying enough gear and supplies to set the new high score and wouldn’t want

to have to explain that to a cop.” Based on my knowledge, training and
Case 1:19-mj-00407-TCB Document 2 Filed 09/18/19 Page 9 of 15 PagelD# 10

experience, “high score” in this context refers to the largest number of persons
killed in a mass shooting.

21. Based on my training and experience, I know that the firearms discussed in this
affidavit, and particularly in Paragraphs 4, 11, 13-15, and 17 constitute firearms, pursuant to Title
18, United States Code, Section 921(a)(3), were not manufactured in the Commonwealth of
Virginia and, therefore, the firearms traveled in, and/or affected interstate commerce.
THOMASBERG’s Contemporaneous Drug Use

22. The ATF Forms 4473, which THOMASBERG filled out on or about October 18,
2017, and on or about July 22, 2019, included Question E, which reads: “Are you an unlawful
user or addicted to marijuana or any depressant, stimulant, narcotic drug, or any other controlled
substance? Warning: The use or possession of marijuana remains unlawful under Federal law
regardless of whether it has been legalized or decriminalized for medicinal or recreational purposes
in the state where you reside.” On both forms, THOMASBERG checked “no” in response to this
question. THOMASBERG certified that his answers were true and that he was aware that a false
answer was punishable as a felony under federal law.

23. During the July 2019 exploitation of Individual B.B.’s phone, analysts observed
text messages over the application Signal between Individual B.B. and THOMASBERG that
appeared to be discussions of narcotics activity.

a. On or about November 2, 2018, the following messages were exchanged:
i. THOMASBERG texted Individual B.B., “Yo im gonna start tripping
again. Psychedelic Nazis.” Based on my investigation, both
THOMASBERG and Individual B.B. have associations with white

supremacist organizations, such as Attomwaffen Division.
Case 1:19-mj-00407-TCB Document 2 Filed 09/18/19 Page 10 of 15 PagelD# 11

ii.

ili.

iv.

Individual B.B. texted THOMASBERG, “Shrooms? Lsd?” Based on
my training, knowledge, and experience, “Shrooms” refers to
Psilocybin mushrooms, mushrooms which contain psychedelic
properties and are used illegally as a hallucinogen. Based on my
training, knowledge, and experience, psilocybin mushrooms are a
Schedule I controlled substance.

THOMASBERG texted Individual B.B., “Sid.” Based on my training,
knowledge, and experience, “Sid” refers to LSD. Based on my training,
knowledge, and experience, LSD is a Schedule I controlled substance.
THOMASBERG texted Individual B.B., “I feel the calling to start
tripping again. I just cant go balls deep like I did last time. Space it out

like every month or so. Not every two weeks.”

b. On or about November 9, 2018, the following messages were exchanged:

i.

il.

THOMASBERG texted Individual B.B., “I have extra btc, are there any
substances youd like to try.” Based on my training, knowledge, and
experience, “btc” refers to Bitcoin.

THOMASBERG texted Individual B.B., “Theres nothing more Aryan
than entheogenic drug use. Drug addiction is untermensch.” Individual
B.B. replied THOMASBERG, “That’s debatable. But I still have a
bunch of shrooms anyway.” THOMASBERG responded to Individual
B.B., “Literally since the dawn of time weve been harnessing the powers

of nature and its fruits to expand our consciousness. Better

10
Case 1:19-mj-00407-TCB Document 2 Filed 09/18/19 Page 11 of 15 PagelD# 12 —

iil.

understanding our world and universe, creating tech and our
environments to our likeness.”

Individual B.B. texted THOMASBERG, “How about some Isd? I’m
guessing that’s something you copped already.” THOMASBERG

replied to Individual B.B., “No but I can.”

c. On or about November 10, 2018, THOMASBERG texted Individual B.B., “its

_ amazing how acid opens your eyes.”

d. On or about November 14, 2018, the following messages were exchanged:

i.

ii,

ill.

THOMASBERG texted Individual B.B., “Do some digging on forums

and tell me what xtal you want for the lucy.” Based on my training, |
knowledge, and experience, “xtal” refers to LSD crystal and is

referenced with a name of a specific LSD based on the quality of the

crystal, and “lucy” refers to LSD.

THOMASBERG texted Individual B.B., “Options are, dutch rose, gdf

fluff, canadian needlepoint, and norcal. Ive had all except the norcal.” |
Based on my training, knowledge, and experience, “dutch rose,” “gdf_ -
fluff,” “Canadian needlepoint,” and “norcal” refer to variations of LSD

based on the quality of the crystal and its purity.

THOMASBERG texted Individual B.B., “He also had micro dose tabs.”
Based on my training, knowledge, and experience, “micro dose tabs”

refers to paper tabs containing LSD which are generally placed on the.

tongue as a form of consumption.

1]
Case 1:19-mj-00407-TCB Document 2 Filed 09/18/19 Page 12 of 15 PagelD# 13

e.

On or about November 28, 2018, THOMASBERG texted Individual B.B., “My -
old plug is offering a lb for 900. if youre interested.” Individual B.B. |
responded, “Intrigued.”

On or about January 21, 2019, THOMASBERG texted Individual B.B., “still
on the straight edge? Bc im thinking of scooping more carts today. If youre

inclined we could group scoop.” THOMASBERG added, “sour banagie, sunset

‘sherbet, purple punch, girl scout cookies, wedding cake, gelato. Take yer pick.”

Individual B.B. responded, “Purp.” THOMASBERG responded and asked,
“Wanna link and do that or you want me to scoop for you?” Individual B.B.
responded, “Just scoop for me, I gotta do a load or two of laundry before I head
out.” Based on my training, knowledge, and experience, “carts” refers to “vape
pen” cartridges that contain tetrahydrocannabinol (THC) oil, the main

psychoactive ingredient in marijuana. Based on my training, knowledge, and

33 66 39 68.

experience, “sour banagie,” “sunset sherbet,” “purple punch,” “girl scout
cookies,” “wedding cake,” and “gelato” refer to various strains of marijuana.

Based on my training, knowledge, and experience, marijuana and THC oil are

. Schedule I controlled substances.

g. On or about January 26, 2019, the following messages were exchanged:

i. THOMASBERG texted Individual B.B., “Got that modafinil. Im only
90m in and im blown away. This stuff is worth its weight in gold.”
Based on my training, knowledge, and experience, “Modafinil” refers
to a Schedule IV controlled substance, which can be abused as speed or

an “upper.”

12
Case 1:19-mj-00407-TCB Document 2 Filed 09/18/19 Page 13 of 15 PagelD# 14

ii. Later in the conversation, Individual B.B. asked, “Provigil?”
THOMASBERG responded “its exactly that. I got the best of the best.
Armodafinil (nuvigil).” Based on my training, knowledge, and
experience, “Provigil” refers to the pharmaceutical generic for
Modafinil, “Armodafinil” and “Nuvigil” are a similar drug under a
different brand name.

iii. Later in the same conversation, Individual B.B. responded, “Wonder
how one goes about finessing a prescription?” THOMASBERG

replied, “Hehehe. India my dude.”

h. On or about March 4, 2019, THOMASBERG texted Individual B.B.,

“Confirmed, cops are dumb assholes and the carts are the way. Some jackass
pulled me over after 10min cat and mouse. Be of my “inspection sticker. Didnt
smell shit.” Records obtained from the Loudoun County Virginia Sheriff's
Department indicate THOMASBERG was stopped on March 4, 2019, at

8:09 AM, for an inspection sticker violation.

24. During the July 2019 exploitation of Individual B.B.’s phone, analysts observed

text messages over the application Signal between Individual B.B., THOMASBERG, and another

individual that appeared to be discussions of narcotics activity.

a.

On or about November 1, 2018, THOMASBERG texted the group, “I could do
it if could sit still. But I need drugs for that and my opium doesnt get here until
fri or sat....uggg.” Based on my training, knowledge, and experience, opium is

a Schedule JI controlled substance.

13
Case 1:19-mj-00407-TCB Document 2 Filed 09/18/19 Page 14 of 15 PagelD# 15

b. On or about February 9, 2019, THOMASBERG texted the group, “Modafinils
a funny drug.”

25. Many of their conversations concerning illegal drug use occurred between
November 2018 and March 2019, around the time THOMASBERG was reported to be in constant
possession of firearms, and involved in the trade of a Saiga semiautomatic assault rifle, discussed
in Paragraph 19.b.

CONCLUSION

26. Based on my training and experience, and the information provided in this affidavit,
I respectfully submit that there is probable cause to believe that (i) on or about October 18, 2017,
in the Eastern District of Virginia, THOMASBERG, in connection with the acquisition or
attempted acquisition of any firearm or ammunition from a licensed importer, licensed
manufacturer, licensed dealer, or licensed collector, knowingly made any false or fictitious oral or
written statement intended or likely to deceive such importer, manufacturer, dealer, or collector
with respect to any fact material to the lawfulness of the sale or other disposition of such firearm
or ammunition, in violation of Title 18, United States Code, Section 922(a)(6), and (ii) between
on or about November 2018 to March 2019, in the Eastern District of Virginia, THOMASBERG
possessed a firearm while being an unlawful user of or addicted to any controlled substance, in

violation of Title 18, United States Code, Section 922(g)(3).

14
Case 1:19-mj-00407-TCB Document 2 Filed 09/18/19 Page 15 of 15 PagelD# 16

I declare under penalty of perjury that the statements above are true and correct to the best

[blo —

Sffawn M. Matthews
Special Agent
Federal Bureau of Investigation

of my knowledge and belief.

Sworn and subscribed to before me this S day of September, 2019.

| _ fs}
arroll Buchanan

Honorable Theresa CarrollUSitehaBattes Magistrate Judge
United States Magistrate Judge
Alexandria, Virginia

 

15
